Case 1:21-cr-00371-BMC-TAM Document 47 Filed 10/14/21 Page 1 of 1 PageID #: 283



 O’Melveny & Myers LLP                 T: +1 310 553 6700
 1999 Avenue of the Stars              F: +1 310 246 6779
 8ᵗʰ Floor                             omm.com
 Los Angeles, CA 90067-6035




                                                                                                                  Daniel M. Petrocelli
 October 14, 2021                                                                                                 D: +1 310 246 6850
                                                                                                                  dpetrocelli@omm.com
 VIA ECF

 The Honorable Brian M. Cogan
 United States District Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201

 Re:      United States v. Thomas J. Barrack
          Criminal Docket No. 1:21-CR-371-2 (BMC)

 Dear Judge Cogan:

 We represent defendant Thomas J. Barrack, Jr., and we respectfully request that the status
 conference scheduled for November 2, 2021 at 11:30 am be held in person instead of by Zoom.
 We have consulted with counsel for the government and defendant Matthew Grimes and they
 do not object to our request.

 Respectfully submitted,


 /s/ Daniel M. Petrocelli

 Daniel M. Petrocelli
 James A. Bowman
 Nicole M. Argentieri
 Partners
 of O’MELVENY & MYERS LLP




          Austin • Century City • Dallas • Los Angeles • Newport Beach • New York • San Francisco • Silicon Valley • Washington, DC
                              Beijing • Brussels • Hong Kong • London • Seoul • Shanghai • Singapore • Tokyo
